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..

                                  UNITED STATE DISTRICT COURT
                                       DISTRICT OF KANSAS

     UNITED ST ATES OF AMERICA                           )
                                                         )
                           Plaintiff,                    )
                                                         )
                    V.                                   )       Case No. 20-cv-1238-EFM-JPO
                                                         )
     DEFENDANT NO. 1: APPROXIMATELY                      )
     $3,398.00 IN UNITED STATES CURRENCY,                )
     More or less;                                       )
                                                         )
     DEFENDANT 0. 2: A GLOCK MODEL 23                    )
     .40 CALIBER, SIN UXK806;                            )
                                                         )
     DEFENDANT 0. 3: AMMUNITION;                         )
                                                         )
     DEFENDANT NO.4: CALES; and                          )
                                                         )
     DEFENDANT NO. 5: GRINDER;                           )
                                                         )
                                   Defendants.           )


                             COMPLAINT FOR FORFEITURE IN REM
            PJaintiff, United States of America, by and through its attorneys Stephen R. McAllister,

     United States Attorney for the District of Kansas, and Annette Gurney, Assistant United States

     Attorney, brings thi complaint and alleges as follows in accordance with Supplemental Rule

     G(2) of the Federal Rules of Civil Procedure:

                                        NATURE OF THE ACTION

            1.     This is an action to forfeit and condemn to the u e and benefit of the United States

     of America the above-captioned property (hereinafter defendants), for violations of2l V.S.C. §

     841.

                                        THE DEFENDANTS IN REM

            2.      The defendants consist of:
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                A.      Approximately $3,398.00 in U nited States currency seized by the Wichita
                        Police Department (WPD) on or about June 06, 2018;

                B.      A Glock model 23, .40 caliber, SIN UXK806;

                C.      Ammunition;

                D.      Scales: and

                E.      Grinder.

        3.      The defendants were seized by the WPD on or about June 6, 20 18. Currently, the

defendants are in the custody of either the Bureau of Alcohol, Tobacco, Firearms and Explosives

(ATF) or the WPD.

                                   JURISDICTION AND VE UE

        4.      Plaintiff brings this action in rem in its own right to forfeit and condemn the

defendants. This Court has jurisdiction over an action commenced by the United States under 28

U.S.C. §1345, and over an action for forfeiture under 28 U.S .C. § 1355.

        5.     This Court has in rem j urisdiction over the defendants under 28 U.S.C. § 1355(b).

Upon fi ling this complaint, the plaintiff requests that the Court issue an arrest warrant in rem

pursuant to Suppl emental Rule G(J)(b), which the plaintiff will execute upon the defendants

pursuant to 28 U.S.C. §1355(d) and Supplemental Rule G(J)(c).

        6.     Venue is proper in this district pursuant to 28 U.S.C. § 1355(b)(l), because the

acts or omissions giving rise to the forfeiture occurred in this district and/or pursuant to 28

U.S.C. § 1395, because the defendants are located in this district.

                                    BASIS FOR FORFEITURE

        7.     Defendants No. 1-5 are subject to forfeiture pursuant to 2 1 U.S.C. § 881(a)(6)

because they constitute: 1) money, negotiable instruments, securities and other things of value

furnished or intended to be furnished in exchange for a controlled substance in violation of the
                                                  2
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Controlled Substances Act; and/or 2) proceeds traceable to such an exchange; and/or 3) were

used or intended to be used to facilitate a violation of the Controlled Substances Act.

       8.      Defendants No. 2 and 3 are subject to forfeiture pursuant to 18 U.S.C. § 924(d)

and 28 U.S.C. § 2461(c) because they were involved in or used in a violation of the Controlled

Substances Act, or were intended to be used in a violation of the Controlled Substances Act.

       9.      Defendant No. 2 is subject to forfeiture pursuant to 21 U.S.C. § 881(a)(l l) as it

was used or intended to be used to facilitate the transportation, sale, receipt, possession, or

concealment of controlled substances.

        10.    Supplemental Rule G(2)(f) requires this complaint to state sufficiently detailed

facts to support a reasonable belief that the United States will be able to meet its burden of proof

at trial. Such facts and circumstances supporting the seizure and forfeiture of the defendants are

contained in Exhibit A which is attached hereto and incorporated by reference.

                                      CLAIM FOR RELIEF

       WHEREFORE, the plaintiff requests that the Court issue a warrant of arrest in rem for

the defendants; that notice of this action be given to all persons who reasonably appear to be

potential claimants of interests in the defendants; that the defendants be forfeited and condemned

to the United States of America; that the plaintiff be awarded its costs and disbursements in this

action; and for such other and further relief as this Cowt deems proper and just.

        The United States hereby requests that trial of the above-entitled matter be held in the

City of Wichita, Kansas.

                                                       Respectfully submitted,
                                                       STEPHEN R. MCALLISTER




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                                   Assistant United States Attorney
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                                        DECLARATION

       I, Aaron Chaffee, Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives in the District of Kansas, have read the contents of the foregoing Complaint for

Forfeiture in Rem and the exhibit thereto, and the statements contained there are true to the best

of my knowledge and belief.

       l declare under penalty or perjury that the foregoing is true and correct.

       Executed on this    8     day of September,   202A-    cJ::4 _:>*
                                                     Aa'rof! C affee
                                                     Special Agent
                                                     ATF




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              AFFIDAVIT IN SUPPORT OF COMPLAINT FOR FORFEITURE


         I, Aaron L. Chaffee, (hereinafter referred to as Affiant) being duly sworn, declare and

state:


         1.     Affiant has been employed as a Special Agent with the Alcohol Tobacco and

Firearms (ATF) since January 2015. Affiant is currently assigned to the Wichita Field Office in

Wichita, KS. As a Special Agent with ATF, affiant attended the Federal Law Enforcement

Training Center's Criminal Investigator Training Program and ATF Special Agent Basic

Training. Prior to being employed by ATF, affiant was employed by the Wichita Police

Depaitment (WPD). Affiant was assigned positions within the WPD as Special Community

Action Team officer and a Gai1g Intelligence officer, that specialized in violent crime, gang

crime, and drug related investigations. Affiant has received training in arson, explosives,

firearms, tobacco, violent crime, gang related investigation and drug trafficking investigations.

Affiant has conducted and/or participated in investigations involving, explosives, firearms,

controlled substances, and violent crimes. Affiant has utilized confidential informants to obtain

information and evidence, conducted thousands of interviews of suspects and witnesses, written

and executed state/federal search warrants, and written and executed slate/federal arrest warrants.

Affiant has conducted and/or participated in investigations resulting in the seizure of contraband,

currency, vehicles, and other evidentiary item s related to drug and violent crime investigations.

Affiant has received additional training by ATF, Advanced Investigative Techniques, into

investigating RICO/VICAR and other complex investigations. Affiant has a Bachelor of Science

degree in Criminal Justice.

         2.     This affidavit is made in suppo1t of a Complaint for Forfeiture in R em for the

fo llowing property:
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               A.      Approximately $3,398.00 in United State currency seized by the WPD on
                       or about June 06, 2018;

               B.      A Glock model 23, .40 caliber, SIN UXK806;

               C.      Ammunition;

               D.      Scales; and

               E.      Grinder.

        3.     The facts set forth in this affidavit are based upon my personal observations, my

training and experience, information obtained from other law enforcement officers and

witnesses, and other sources of information. This affidavit is in suppo1i of a complaint for

forfeiture in rem and does not purport to set forth all of my knowledge of or investigation into

this matter.

STATEMENT OF PROBABLE CAUSE


       4.      I know the following from reviewing WPD reports, documents and other items, as

well as speaking with WPD personnel:

       5.      On June 05, 2018, a WPD patrol officer stopped to check an occupied vehicle

sitting behind Wichita East High School at 2301 E. Douglas, Wichita, Kansas.

       6.      The patrol officer noticed that the vehicle was occupied by a male driver and a

female passenger. The officer also noticed that there was an odor of marijuana emitting from the

vehicle and after the male driver exited the vehicle as ordered by the officer, the officer noticed

green loose leafy substance on the driver's seat. The male driver then proceeded to run on foot

from the scene eluding the officer for a short time. Once the driver was caught and detained the

officer returned to the scene of the vehicle and searched it finding six separate plastic bags of

marijuana, scales, grinder, $3,398.00 in U.S. currency, and a loaded Glock model 23, .40 caliber,

SIN UXK.806. The approximate total weight of the marijuana was 97 grams. The driver was

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identified as Carletos Amaro and admitted to distributing the marijuana but not selling it.

       7.         Based on the foregoing, I have probable cause to believe that the items listed in

paragraph 2, above, are subject to fo1feiture pursuant to 21 U.S.C. § 881 (a)(6) because they

constitute 1) money, negotiable instruments, securities and other things of value furnished or

intended to be furnished in exchange for a controlled substance in violation of the Controlled

Substances Act; and/or 2) proceeds traceable to such an exchange; and/or 3) were used or

intended to be used to facilitate a violation of the Controlled Substances Act.

       8.        Based on the foregoing, I have probable cause to believe that the fireann

identified in paragraph 2, above, is subject to forfeiture pursuant to 21 U. .C. § 88l(a)(l 1) as it

was used or intended to be used to facilitate the transportation, sale, receipt, possession, or

concealment of controlled substances.

       9.        Based on the foregoing, I have probable cause to believe that the fuearm and

ammunition identified in paragraph 2, above, are also subject to forfeiture pursuant to 18 U .S.C.

§ 924(d)(l) as they were involved in or used in a violation of the Controlled Substances Act, or

were intended to be used in a violation of the Controlled Substances Act.




                                                                   Aaron'Ch~                      '
                                                                   Special Agent
                                                                   ATF


Subscribed and sworn to before me on this     _ f>_       day of September, 2020


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         My /\ppt. Expires
                                                                 -#f'ed#L/41¾
                                                                   Michelle R. Kellogg
                                                                   Notary Public

My commission expires: 11/02/2022

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